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       12/27/2024                                                                        .
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      Judge Wilken
      United States District Court                                                             U.S. district court
      Northern District of California                                                 NORTH           office^
      Re: In re; College Athlete NIL Litigation, Case No. 4:20-cv-03919                                     ^
      Dear Judge Wilken,

       My name is Kwame Etwi, and I am a former football player for Texas A«&M University(TAMU)
c- in College Station during 2015-2019.1 am writing to formally contest the criteria for the damage
      class regarding the Broadcast NIL(BNIL)portion of the House v. National Collegiate Athletic
       Association settlements, specifically the Football and Men's Basketball Class.
       The definition of this class is as follows:

      "All current and former college athletes who have received full Grant-in-Aid(GIA)scholarships
      and compete on, or competed on, a Division I men's basketball team or an PBS football team, at
       a college or university that is a member of one of the Power Five Conferences (including Notre
       Dame), at any time between June 15, 2016, and the date of the class certification order in this
       matter."

      I contest the criteria because it unfairly excludes athletes like me who had Division 1 offers but
      chose to play at a more dominant school and, despite making significant contributions to their
      teams, did not receive a full GIA scholarship from their chosen school. As a preferred/priority
      walk-on, meaning 1 did not have to try out for the team, I played in over 20 games, was on the
      active roster, and traveled as a first- or second-string player to every game except one due to
      injury throughout my collegiate career. My contributions included participating in media
      interviews and representing the university in ways that were comparable to, if not exceeding,
      some scholarship players who did not actively participate on the field. Despite my efforts and
      sacrifices, I am not eligible for any compensation under the current criteria.
       It is particularly disheartening that the current criteria prioritizes scholarship status over actual
       contributions to the team. Medically retired players who may have never stepped on the field, as
       well as players who never played a single snap, are awarded tens of thousands of dollars solely
       because they received a scholarship. Meanwhile, athletes like me, who actively contributed on
       the field throughout our entire collegiate careers and bore the financial burden of tuition, receive
       nothing. This exclusion dismisses the value of on-field contributions and creates an inequity that
       fails to recognize the sacrifices and commitments of active roster walk-on athletes who met the
       same demands, adhered to the same rigorous schedules, and upheld the same standards as
       scholarship athletes.

       I respectfully urge the court to reconsider the criteria for the damage class to include athletes
       who actively participated and contributed to their teams, regardless of scholarship status. The
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argument for limiting the class to full scholarship athletes assumes that scholarship status equates
to guaranteed participation or greater contribution, which is not always the case. Only including
full scholarship athletes assumes that these individuals would have been guaranteed a spot on
any team in an alternative world where compensation rules were different. However, this
assumption unfairly marginalizes walk-ons who proved their value through measurable
contributions on the field. In fact, participating in games at a Power Five institution arguably
demonstrates greater guaranteed contribution to broadcast value than scholarship status alone, as
these conferences command the largest television audiences and media rights deals. The focus on
full scholarship athletes also ignores the fundamental reality of broadcast revenue—onlv plavers
who appear in games generate value through media exposure. Athletes like myself, who chose to
attend more competitive programs and actively contributed, should not be excluded simply
because we bore the financial burden of tuition rather than receiving institutional aid.
By implementing or adding an alternative criterion, such as an in-game participation threshold
measured by games played or appearances on the active roster—a straightforward and easily
verifiable measure—^the settlement could more accurately and equitably reflect the contributions
of all athletes while still maintaining a clear and objective standard for eligibility. This approach
would address the imbalance created by the current criteria and honor the true impact of those
who committed to their teams on and off the field.

Additionally,I would like to provide evidence to support my case. Below are links to official
records and statistics that detail my active participation and contributions as a member of the
Texas A&M University football team:
   • Texas A&M Athletics Profile: https://12thman.coi'n/sports/football/roster/kwame-
       etwi/6432

   • ESPN Player Stats: https://www.espn.com/colleae-
       footbal1/plaver/stats/ /id/3917321/kwame-etvvi

   • Sports-Reference Player Profile: https://www,sports-referen ce.com/cfb/piavers/k wame-
       etwi-1 .html

Thank you for your attention to this matter. If applicable, I would like to speak at the final
approval hearing to further address these concerns and provide additional context. Should I have
the opportunity to speak,I respectfully request to participate electronically via Zoom or any
other approved virtual method, as I am located in Texas.
Sincerely,
Kwame Etwi
